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                                   3                                     UNITED STATES DISTRICT COURT

                                   4                                NORTHERN DISTRICT OF CALIFORNIA

                                   5                                          SAN JOSE DIVISION

                                   6

                                   7         ELI ATTIA, et al.,                             Case No. 17-cv-06037-BLF
                                   8                       Plaintiffs,
                                                                                            ORDER GRANTING MOTION TO
                                   9                v.                                      DISMISS FEDERAL CLAIMS WITH
                                                                                            PREJUDICE; DECLINING TO
                                  10         GOOGLE LLC, et al.,                            EXERCISE SUPPLEMENTAL
                                                                                            JURISIDICTION; REMANDING
                                  11                       Defendants.                      ACTION
                                  12                                                        [Re: ECF 127]
Northern District of California
 United States District Court




                                  13

                                  14              Before the Court is Defendant Google LLC, Larry Page, Sergey Brin, Sebastian Thrun, and
                                  15   Eric “Astro” Teller (collectively, “Google”) motion to dismiss Plaintiffs Eli Attia and Eli Attia
                                  16   Architect PC’s (collectively, “Plaintiffs”) Fifth Amended Complaint (“5AC”). ECF 127.
                                  17   Defendants Flux Data, Inc., Nicholas Chim, Jennifer Carlile, Augusto Roman, and Michelle
                                  18   Kaufmann (collectively, “Flux”) join in Google’s motion. ECF 128. The Court previously
                                  19   dismissed the five federal causes of action in Plaintiffs’ Fourth Amended Complaint (“4AC”),
                                  20   brought under the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C.
                                  21   §1962(a)–(d). See generally 4AC Order, ECF 116. The Court held a hearing on the motion on
                                  22   February 14, 2019. For the reasons discussed at the hearing, and as stated below, Plaintiffs’ 5AC
                                  23   RICO allegations fail to cure the deficiencies of its 4AC, and their Defend Trade Secrets Act claim
                                  24   fails for the same reasons. As such, Defendants’ motion to dismiss is GRANTED WITH
                                  25   PREJUDICE. The Court DECLINES to exercise supplemental jurisdiction over the remaining
                                  26   state law claims and REMANDS this action back to start court.
                                  27   ///
                                  28   ///
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                                           I.   BACKGROUND1
                                   1
                                                The Court’s previous order dismissing the 4AC (“4AC Order”) provided a lengthy
                                   2
                                       discussion of the procedural and factual backgrounds of this case. See 4AC Order at 2–10. In
                                   3
                                       brief, Plaintiff Eli Attia is an architect who has spent much of his life developing a new
                                   4
                                       architecture technology called “Engineered Architecture” or “EA.” 5AC ¶¶ 1, ECF 120. Google,
                                   5
                                       through its research and development facility, Google X, sought to partner with Mr. Attia to
                                   6
                                       develop EA in July 2010. Id. ¶¶ 26–27. The parties signed a nondisclosure agreement (“NDA”).
                                   7
                                       Id. ¶ 28. In September 2010, Google worked with Mr. Attia to develop a software system called
                                   8
                                       “Project Genie” to implement EA. In January 2011, Google and Plaintiffs entered into an Inbound
                                   9
                                       Services Agreement (“ISA”) and an associated Statement of Work agreement (“SOW”) with
                                  10
                                       respect to Project Genie. Id. ¶ 37. Throughout this process, Mr. Attia disclosed his trade secrets
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                                       to Google with the understanding that he would be compensated if the program were ultimately
                                  12
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                                       successful. Id. ¶¶ 31, 42–65.
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                                  13
                                                Google in turn disclosed those trade secrets by filing patent applications with the U.S
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                                       Patent and Trademark Office and showing a prototype of the technology to several industry
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                                       leaders. Id. ¶¶ 69–72, 84, 86–87. The patent applications were published in July 2012. Id. ¶ 88.
                                  16
                                       Then, Google squeezed Mr. Attia out of the project, all the while planning to use his trade secrets
                                  17
                                       to create a new, successful venture: Vannevar Technology (which became Flux Factory, Inc.).
                                  18
                                       Id. ¶¶ 76, 90. Google reneged on its agreement to compensate Mr. Attia for his trade secrets and
                                  19
                                       proprietary information. Id. ¶ 88. Mr. Attia claims that Google has used this same scheme on
                                  20
                                       other businesses to unlawfully steal their trade secrets and proprietary information. See id. ¶¶
                                  21
                                       143–60, 166–70.
                                  22
                                                A.   4AC Order
                                  23
                                                In its 4AC Order, the Court dismissed Plaintiffs’ RICO claims as “entirely inadequate,”
                                  24
                                       noting that they would “require significant amendment in order to proceed.” 4AC Order at 12.
                                  25
                                       Specifically, the Court dismissed the claims for the following reasons, in part: (1) Plaintiffs did not
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                                  27   1
                                         Plaintiffs’ factual allegations are taken from the operative 5AC and are accepted as true for
                                  28   purposes of the motion to dismiss. See Reese v. BP Exploration (Alaska) Inc., 643 F.3d 681, 690
                                       (9th Cir. 2011).
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                                   1   have standing to bring a claim under RICO; (2) Plaintiffs had not alleged a “pattern of

                                   2   racketeering activity” under RICO; and (3) Plaintiffs’ allegations as to conspiracy were woefully

                                   3   deficient.

                                   4           First, the Court agreed with Defendants that Plaintiffs had not pled “they were victims of a

                                   5   timely predicate act” under RICO, namely the predicate act of criminal misappropriation of trade

                                   6   secrets. See id. at 12–21. Criminal misappropriation was not made a predicate act under RICO

                                   7   until the Defend Trade Secrets Act (“DTSA”) was passed in May 11, 2016. Because this statutory

                                   8   amendment is not retroactive, Plaintiffs were “required to allege that they suffered injury

                                   9   proximately caused by trade secret theft by each Defendant after May 11, 2016.” Id. at 13 (citing

                                  10   Snowden v. Lexmark Int’l, Inc., 237 F.3d 620, 623-624 (6th Cir. 2001)). But Defendants’ alleged

                                  11   relevant acts occurred in 2011 and 2012, including the “extinguish[ment]” of the trade secrets

                                  12   through Google’s published patent applications. Id. at 13–14. Even so, Plaintiffs argued that they
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                                  13   had standing because (1) Google is “estopped from using their unlawful publication of Plaintiffs’

                                  14   trade secrets in patent applications in 2012 to avoid liability for continued illegal use of the trade

                                  15   secrets after May 11, 2016”; and (2) Google’s continued use of the trade secrets after May 11,

                                  16   2016 made Google liable under the DTSA. The Court rejected both arguments.

                                  17           As to estoppel, the Court held that estopping Google from arguing that Plaintiff had not

                                  18   pled a DTSA violation after May 2016 would “permit RICO to go back in time and apply

                                  19   retroactively, as a plaintiff could raise estoppel to render any wrongful act a predicate act, even if

                                  20   the RICO statute did not make it a predicate act until years later.” Id. at 16. This result would be

                                  21   contrary to controlling law, which holds that RICO does not apply retroactively. The Court made

                                  22   clear that this ruling was circumscribed specifically to the somewhat unique, “extremely limited

                                  23   temporal circumstance[s]” of this case, in which the allegedly wrongful publication of the trade

                                  24   secrets occurred prior to the DTSA’s amendment of RICO. Given these unique circumstances,

                                  25   barring an estoppel argument in this case would not create perverse incentives for defendants to

                                  26   wrongfully publish trade secrets to avoid liability under the DTSA as a substantive matter because

                                  27   the focus here is instead on whether the timing of the wrongful action could constitute a predicate

                                  28   act under RICO. Id. at 15–16. Moreover, Plaintiffs still had remedies at state law for the alleged
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                                   1   misappropriation in 2011 and 2012, even without valid RICO claims.

                                   2          As to continued use, the Court held that the 2012 disclosure and extinguishment of

                                   3   Plaintiffs’ trade secrets in the patent applications “occurred only once, and cannot amount to

                                   4   ‘continued misappropriation’ extending into 2016.” Id. at 17. Quoting Avago Techs. U.S. Inc. v.

                                   5   Nanoprecision Prods, Inc., No. 16-cv-3737-JCS, 2017 WL 412524, at *9 (N.D. Cal. Jan 31,

                                   6   2017), the Court recognized that there is no “authority suggesting that the DTSA allows a

                                   7   misappropriation claim to be asserted based on the continued use of information that was

                                   8   disclosed prior to the effective date of the statute.” 4AC Order at 17; see also 4AC Order at 17 n.8

                                   9   (citing Ultimax Cement Mfg. Corp. v. CTS Cement Mfg. Corp., 587 F.3d 1339, 1355 (Fed. Cir.

                                  10   2009)). The Court noted that Plaintiffs had not “differentiate[d] between alleged trade secrets that

                                  11   were disclosed by Google in patent applications and ‘extinguished’ upon publication in 2012, and

                                  12   any remaining trade secrets that were not disclosed prior to the DTSA’s effective date.” Id. at 19.
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                                  13   But even putting the extinguishment of the trade secrets to the side, the Court also held that

                                  14   Plaintiffs had failed to allege that Defendants actually used the alleged trade secrets after May 11,

                                  15   2016. Id. at 18–20. One important defect on this front was that the 4AC had insufficiently tied

                                  16   Flux to Google and the individual Google Defendants with Google the entity. See id. at 19–20.

                                  17          Second, as to a pattern of racketeering activity, the Court held that Plaintiffs’ list of six

                                  18   disparate lawsuits where plaintiffs had sued Google for trade secret misappropriation was

                                  19   insufficient to demonstrate a pattern of racketeering. See id. at 24–27. The Court first noted that

                                  20   Plaintiffs had not satisfied Federal Rule of Civil Procedure 11’s requirement that Plaintiffs’

                                  21   attorneys personally validate the truth of the allegations in those lawsuits. Id. at 24–25. The Court

                                  22   gave leave to amend for Plaintiffs to allege facts related to those lawsuits that Plaintiffs’ attorneys

                                  23   had personally validated. The Court also noted that five of those six lawsuits had resolved

                                  24   favorably for Google. Id. at 26 n.12. Defendants also argued that Plaintiffs had not demonstrated

                                  25   “the required relationship and continuity among the predicate acts”—the six lawsuits—as required

                                  26   under RICO. Id. at 26. The Court deferred ruling on this issue, but noted it was

                                  27   “concerned . . . by the absence of allegations tying each defendant to the alleged predicate acts.”

                                  28   Id. at 27. Specifically, “[a]lthough Google as a company is clearly the common thread throughout
                                                                                          4
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                                   1   the six lawsuits, there is no allegation that any other defendant engaged in the alleged wrongdoing

                                   2   in these cases.” Id. The Court held that Plaintiffs would have to plead facts as to each individual

                                   3   Defendant to demonstrate that each Defendant engaged in a pattern of activity.

                                   4          Finally, as to conspiracy, the Court held that the 4AC “contain[ed] no factual allegations

                                   5   that any Flux Defendant had knowledge and awareness of the alleged RICO scheme.” Id. at 30.

                                   6   Moreover, Plaintiffs had not alleged that the Flux Defendants engaged in any predicate acts other

                                   7   than those alleged in the present case. See id. at 30. Ultimately, the conspiracy claims failed for

                                   8   the same reasons as the other RICO claims, as well as Plaintiff’s failure to plead “plausible facts

                                   9   suggesting that Defendants were aware of the essential nature and scope of the RICO scheme, and

                                  10   otherwise agreed to participate in a scheme that meets RICO’s substantive requirements—

                                  11   including a plausible pattern of racketeering activity.” Id. at 31.

                                  12           B.   5AC
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                                  13          In their 5AC, Plaintiffs include allegations to address some, but not all, of the deficiencies

                                  14   the Court identified in its 4AC order.2

                                  15          As an initial matter, Plaintiffs more clearly delineate the trade secrets at issue in this case.

                                  16   See 5AC at ¶¶ 44–65. These alleged trade secrets are completely parallel to what was disclosed in

                                  17   Google’s published patent applications. See id. ¶¶ 69–73, 86, 141; Hearing Tr. at 5:20–23, ECF

                                  18   149. And Plaintiffs now assert only two RICO causes of action: (1) under 18 U.S.C. § 1962(c),

                                  19   for operation of an enterprise through racketeering (against Google, Inc. and Flux Factory, Inc.);

                                  20   and (2) 18 U.S.C. § 1962(d) for conspiracy to violate § 1962(a) (use or investment) and § 1962(c)

                                  21   (operate an enterprise) (against all Defendants). See id. ¶¶ 143–77. They also assert a Defend

                                  22   Trade Secrets Act (“DTSA”) claim, under 18 U.S.C. § 1836(b)(1) (against Google, Inc. and Flux

                                  23   Factory, Inc.). Id. ¶¶ 135–42.

                                  24          Plaintiffs still propound a theory of liability under RICO and their new DTSA claim based

                                  25   on Google and Flux’s continuing use of Plaintiff’s trade secrets after May 2016. Specifically,

                                  26
                                  27   2
                                        Because neither party clearly lays out the key differences between the 4AC and the 5AC, the
                                  28   Court uses Plaintiffs’ opposition as a guidepost for the allegations in the 5AC they believe are
                                       most relevant.
                                                                                         5
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                                   1   Plaintiffs allege that Defendant Teller approached Attia to partner with him, and then Google

                                   2   signed an NDA with Plaintiff before Attia pitched the technology to Defendants Page, Thrun,

                                   3   Teller and Brin. Id. ¶¶ 27–30. Defendant Page and Brin then authorized Google X to develop

                                   4   Plaintiffs’ technology. Id. ¶ 31. The project became Project Genie. Id. ¶ 34. Plaintiffs then

                                   5   entered into contractual arrangements with Google, whereby Google promised to maintain

                                   6   confidentiality of Mr. Attia’s trade secrets and proprietary information. Id. ¶¶ 35–38. Eventually,

                                   7   after publishing the alleged trade secrets in patent applications and beginning to push Plaintiffs

                                   8   out, Google formed Vennevar Technology Inc., which changed its name to Flux Factory, Inc. Id.

                                   9   ¶¶ 90, 91. Plaintiffs allege that Flux Factory, Inc. created several products after May 2016 that are

                                  10   enabled by Plaintiffs’ trade secret information. See id. ¶¶ 95–105. And they allege that Google

                                  11   has “teamed up with Flux Factory” in a variety of ways to use and market the products after May

                                  12   2016. Id. ¶ 139.
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                                  13          Plaintiffs also still allege that Google is estopped from arguing that it is not liable under

                                  14   RICO or the DTSA because it wrongfully published Plaintiffs’ trade secrets in patent applications

                                  15   in 2012. See id. ¶¶ 66–73; 84–91. “Although Mr. Attia was aware in 2011 that Google was filing

                                  16   applications using his trade secrets and other proprietary information,” he claims Google’s

                                  17   publication of this information was wrongful because he only “conditionally authorized” such

                                  18   disclosure, “on the condition that Google compensate him” as provided for in their contract, and

                                  19   yet Google never adequately compensated him. Id. ¶¶ 87–88. Plaintiffs allege that this

                                  20   publication “extinguish[ed] [the secrets’] trade secret status.” Id. ¶ 88.

                                  21          As to the alleged pattern of RICO activity, the 5AC alleges that Google has used the same

                                  22   scheme with other businesses—inducing them to share their proprietary information and then

                                  23   wrongfully using or disclosing it without compensating the business. See id. ¶¶ 148, 154–64. The

                                  24   5AC abandons most of the previous lawsuits cited as evidence of a pattern of racketeering and

                                  25   now cites only two such lawsuits: (1) Oracle Am., Inc. v. Google LLC, 886 F.3d 1179, 1187 (Fed.

                                  26   Cir. 2018), a copyright infringement case; and (2) a case involving VSL Communications, LTD,

                                  27   relating to trade secret misappropriation. Id. ¶¶ 154–64. Plaintiffs do not cite any other predicate

                                  28   acts that may reflect a “pattern” of activity, besides Defendants’ alleged actions here.
                                                                                          6
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                                   1           Finally, as to a conspiracy, Plaintiffs allege that Flux Factory and the Google Defendants

                                   2   (including Google and the individual Defendants), conspired to unlawfully use Plaintiffs’ trade

                                   3   secrets through Google’s licensing the patents embodying the trade secrets to Flux Factory.

                                   4   Id. ¶ 93. The 5AC alleges that Flux Factory is merely a “reconstitution and continuation” of

                                   5   Project Genie, with several of the same individuals working at each, including Defendants Teller,

                                   6   Chim, Carlile, Roman, and Kaufmann. Id. ¶ 95. Because Flux is “nothing more than a spin-off of

                                   7   Google’s Project Genie,” the Flux Factory Defendants are alleged to have been “fully aware that

                                   8   the ideas and technology of Project Genie were derived largely from Mr. Attia’s trade secrets.”

                                   9   Id. ¶ 95; see also id. ¶ 164.

                                  10    II.    LEGAL STANDARD
                                  11           “A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) for failure to state a

                                  12   claim upon which relief can be granted ‘tests the legal sufficiency of a claim.’” Conservation
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                                  13   Force v. Salazar, 646 F.3d 1240, 1241–42 (9th Cir. 2011) (quoting Navarro v. Block, 250 F.3d

                                  14   729, 732 (9th Cir. 2001)). When determining whether a claim has been stated, the Court accepts

                                  15   as true all well-pled factual allegations and construes them in the light most favorable to the

                                  16   plaintiff. Reese v. BP Exploration (Alaska) Inc., 643 F.3d 681, 690 (9th Cir. 2011).

                                  17           However, the Court need not “accept as true allegations that contradict matters properly

                                  18   subject to judicial notice” or “allegations that are merely conclusory, unwarranted deductions of

                                  19   fact, or unreasonable inferences.” In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir.

                                  20   2008) (quoting Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001)). While a

                                  21   complaint need not contain detailed factual allegations, it “must contain sufficient factual matter,

                                  22   accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

                                  23   U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim is

                                  24   facially plausible when the alleged facts “allow[] the court to draw the reasonable inference that

                                  25   the defendant is liable for the misconduct alleged.” Id.

                                  26   III.    DISCUSSION
                                  27           Plaintiffs have essentially conceded that their 5AC does not cure the deficiencies in the

                                  28   4AC identified by the Court in its 4AC Order. See ECF 121 (“In view of the Court’s Motion to
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                                   1   Dismiss Order and for purposes of this stipulation and any resulting appeal only, Plaintiffs

                                   2   stipulate that, under the Court’s Motion to Dismiss Order, Plaintiffs cannot prevail on their claims

                                   3   against Defendants Google and Flux in the Fifth Amended Complaint under the DTSA and

                                   4   RICO.”). The Court agrees.

                                   5          First, Plaintiffs do not have standing to bring their RICO and DTSA claims. As set forth in

                                   6   the 4AC Order, the DTSA was not enacted until May 11, 2016. Upon its enactment, criminal

                                   7   misappropriation of trade secrets became a predicate act under RICO. See 18 U.S.C.

                                   8   § 1961(1)(B). But Google allegedly misappropriated Plaintiffs trade secrets and published them in

                                   9   2012, four years before the DTSA’s enactment. Neither a theory of estoppel nor continued use

                                  10   can convert these 2012 actions into a DTSA violation or a RICO predicate act.

                                  11          Allowing estoppel here would give RICO and the DTSA retroactive effect, a result that is

                                  12   contrary to existing law. See Snowden, 237 F.3d at 623–24; Avago, 2017 WL 412524, at *8; 4AC
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                                  13   Order at 16–17. Contrary to Plaintiffs’ arguments, Opp. at 4–6, ECF 142, barring a RICO action

                                  14   in these “extremely limited temporal circumstance[s]” does not shield Defendants from liability,

                                  15   4AC Order at 16—Defendants still face liability under the state law claims Plaintiffs bring here,

                                  16   namely trade secret misappropriation and breach of contract. Indeed, it would be inequitable to

                                  17   allow RICO or the DTSA to apply retroactively contrary to Congressional intent.

                                  18          Likewise, Plaintiffs continued use theory fails as a matter of law. As of the date Google’s

                                  19   patent applications were published, Plaintiffs trade secrets were “extinguish[ed].” Id. ¶ 88. Any

                                  20   alleged misappropriation of this information after this publication cannot constitute trade secret

                                  21   misappropriation. See Avago, 2017 WL 412524, at *8; see also Pawelko v. Hasbro, Inc., 2018

                                  22   U.S. Dist. LEXIS 196741, *22, 2018 WL 6050618 (D.R.I. Nov. 19, 2018). Now that Plaintiffs

                                  23   have made clear that all of the alleged trade secrets at issue here were published in 2012, they

                                  24   cannot rely on a continued use theory for alleged misappropriation by Defendants of those

                                  25   published secrets after 2012. Plaintiffs’ newly cited cases do not stand for the contrary. See Opp.

                                  26   at 2–3 (citing 123 Exteriors, Inc. v. North Star Exteriors, LLC, No. 17-cv-4337, 2018 WL

                                  27   3642221 at *6–*7 (E.D. Penn. 2018); Brand Energy & Infrastructure Servs., Inc. v. Irex

                                  28   Contracting Grp., No. 16-cv-2499, 2017 WL 1105648, at *4 (E.D. Penn. Mar. 24, 2017); Teva
                                                                                         8
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                                   1   Pharms. USA, Inc. v. Sandhu, 291 F. Supp. 3d 659, 674–75 (E.D. Penn. 2018)). In none of these

                                   2   out-of-circuit cases did the defendant publicly share the secrets at issue or allege that the trade

                                   3   secret had lost its status as a trade secret. Thus, Plaintiffs do not have standing to bring their

                                   4   RICO and DTSA claims.

                                   5          Second, Plaintiffs did not cure the identified deficiencies in their “pattern of racketeering”

                                   6   allegations. A “pattern of racketeering activity” requires commission of at least two enumerated

                                   7   predicate offenses within a ten-year period. 18 U.S.C. § 1961(1), (5). The Supreme Court has

                                   8   made clear that in addition to the requisite number of predicate acts, the plaintiff must show that

                                   9   the predicates are related and “amount to or pose a threat of continued criminal activity.” H.J. Inc.

                                  10   v. Nw. Bell Tel. Co., 492 U.S. 229, 239 (1989). The latter concept, “continuity,” refers “either to a

                                  11   closed period of repeated conduct, or to past conduct that by its nature projects into the future with

                                  12   a threat of repetition.” Id. at 241. “Establishment of a pattern ‘requires the showing of a
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                                  13   relationship between the predicates and of the threat of continuing activity.’” Howard v. Am.

                                  14   Online, Inc., 208 F.3d 741, 749 (9th Cir. 2000).

                                  15          In its 4AC Order, the Court declined to rule on whether six lawsuits could form the

                                  16   foundation of a pattern of racketeering, especially with respect to all of the non-Google-LLC

                                  17   Defendants because they seemingly were not involved in those lawsuits. Now, Plaintiffs rely on

                                  18   only two lawsuits3, one of which was a copyright-infringement case. See id. ¶¶ 154–64. Plaintiffs

                                  19   claim that these cases demonstrate that “the Google Defendants’ modus operandi/repeated method

                                  20   of commission is to induce inventors to reveal their proprietary information through NDAs then

                                  21   wrongfully use or publish the proprietary information to the exclusion of the inventors.” Opp. at

                                  22   7. But their allegations with respect to the Oracle case do not actually describe such a modus

                                  23   operandi, mentioning only failed license negotiations, without mention of an NDA. See id. ¶¶

                                  24   150–53. Though the allegations relating to VSL are similar to those here, the Court cannot say, on

                                  25   these alleged facts alone, that there is a “threat of continuing activity” of this nature by Google.

                                  26
                                  27   3
                                         In their opposition, Plaintiffs also reference Space Data Corp. v. Alphabet, Inc. and Google,
                                       LLC, No. 5:16-cv-03260-BLF, 2018 WL 5816403 N.D. Cal. 2018), but they do not include
                                  28
                                       allegations with respect to this case in the 5AC.
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                                   1   Howard, 208 F.3d at 749 (quoting H.J., 492 U.S. at 239). The alleged conduct is not sufficiently

                                   2   related because it does not “embrace[] criminal acts that have the same or similar purposes,

                                   3   results, participants, victims, or methods of commission, or otherwise are interrelated by

                                   4   distinguishing characteristics and are not isolated events.” Id. Indeed, Plaintiffs do not cite any

                                   5   cases in support of their argument in which two isolated lawsuits served as the foundation for a

                                   6   pattern of racketeering. Defendants’ point is well taken that it would set a dangerous precedent to

                                   7   allow two seemingly disparate lawsuits against one of the world’s largest companies to establish a

                                   8   “pattern of racketeering.” Mot. at 9. Google is sued so frequently that it is hard to imagine a

                                   9   scenario in which a plaintiff could not cobble together two seemingly similar lawsuits to support

                                  10   allegations of racketeering against the company. And even if Plaintiffs’ allegations were sufficient

                                  11   to establish a pattern of racketeering against Google LLC, they do not allege that either of these

                                  12   lawsuits involved any of the Defendants except Google LLC—such that no pattern is established
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                                  13   as to the individual Defendants or Flux Factory. See 4AC Order at 27, 31. Such allegations

                                  14   cannot substantiate a RICO claim. And because Plaintiffs fail to plead an underlying RICO

                                  15   violation, their conspiracy claim fails as well.

                                  16          Plaintiffs’ failure once again to allege claims under RICO or the DTSA demonstrates that

                                  17   any further amendment in this case would be futile. See Leadsinger, Inc. v. BMG Music Pub., 512

                                  18   F.3d 522, 532 (9th Cir. 2008). Having now dismissed each of Plaintiffs’ federal law claims, the

                                  19   Court declines to exercise supplemental jurisdiction over Plaintiffs’ remaining state law claims.

                                  20   See 28 U.S.C. § 1367 (“The district courts may decline to exercise supplemental jurisdiction over

                                  21   a claim [brought under supplemental jurisdiction] if . . . the district court has dismissed all claims

                                  22   over which it has original jurisdiction.”). This case belongs in state court, where the litigation

                                  23   proceeded for years before making its way to this Court.

                                  24   IV.    ORDER
                                  25          Based on the foregoing, the Court GRANTS WITH PREJUDCE Defendants’ motion to

                                  26   dismiss Plaintiffs’ federal law claims. The Court DECLINES to exercise supplemental

                                  27   jurisdiction over Plaintiffs’ state law claims, and thus REMANDS this action back to state court.

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                                   1         IT IS SO ORDERED.

                                   2

                                   3   Dated: March 19, 2019

                                   4                                       ______________________________________
                                                                           BETH LABSON FREEMAN
                                   5                                       United States District Judge
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